                                         Case 23-13258-LMI                          Doc 54             Filed 12/05/23                    Page 1 of 11

 Fill in this information to identify your case:

 Debtor 1                   Zenaida I Hernandez Fernandez
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

 Case number           23-13258-LMI
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                4,257.90

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $                4,257.90

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              41,776.00


                                                                                                                                     Your total liabilities $                41,776.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,347.31

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,220.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                                    Case 23-13258-LMI                 Doc 54       Filed 12/05/23             Page 2 of 11
 Debtor 1      Zenaida I Hernandez Fernandez                                              Case number (if known) 23-13258-LMI

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $   2,664.82


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information          page 2 of 2
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                                         Case 23-13258-LMI                  Doc 54          Filed 12/05/23                 Page 3 of 11

Fill in this information to identify your case and this filing:

Debtor 1                    Zenaida I Hernandez Fernandez
                            First Name                   Middle Name                       Last Name

Debtor 2
(Spouse, if filing)         First Name                   Middle Name                       Last Name


United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF FLORIDA

Case number           23-13258-LMI                                                                                                                         Check if this is an
                                                                                                                                                           amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       GMC                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
          Model:      Acadia                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:       2013                                      Debtor 2 only                                                Current value of the     Current value of the
          Approximate mileage:              153,441             Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
          Other information:                                    At least one of the debtors and another
         Valuation based on CarMax
         Appraisal.                                             Check if this is community property                                    $2,500.00                  $1,250.00
         Paid in full                                            (see instructions)

         VIN: 1GKKRTKD7DJ112718
         Titled jointly with daughter.


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                  $1,250.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
Official Form 106A/B                                                     Schedule A/B: Property                                                                         page 1
                               Case 23-13258-LMI                 Doc 54         Filed 12/05/23             Page 4 of 11
Debtor 1      Zenaida I Hernandez Fernandez                                                         Case number (if known)     23-13258-LMI
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                               Living with daughter.

                               Bedroom: Bed, 1 Dresser, 1 Nightstand, 2 Lamps, and a Mirror.

                               Value is debtors valuation based on age and condition.                                                              $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               TV and Cellphone.
                               Value is Debtor's valuation based on age and condition.                                                             $100.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Used clothes and shoes, value is Debtor's valuation based on age
                               and condition.                                                                                                       $60.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....

Official Form 106A/B                                         Schedule A/B: Property                                                                   page 2
                                          Case 23-13258-LMI                                    Doc 54                 Filed 12/05/23    Page 5 of 11
Debtor 1        Zenaida I Hernandez Fernandez                                                                                     Case number (if known)   23-13258-LMI


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                                   $660.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                       Cash on hand                         $20.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                Wells Fargo Bank
                                            17.1.       Checking                                Account Number: 4087                                                       $124.84

                                                                                                TD Bank
                                                                                                Account Number: 2686
                                            17.2.       Checking                                Joint with Daughter.                                                          $4.82

                                                                                                TD Bank
                                                                                                Account Number: 4814
                                            17.3.       Checking                                Joint with Daughter.                                                      $2,185.57


                                                                                                Wells Fargo
                                            17.4.       Savings                                 Savings Account No 3527                                                       $0.25

                                                                                                TD Bank
                                                                                                Checking Account No: 2678
                                            17.5.       Checking                                Account Jointly with Daughter                                               $12.42


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
Official Form 106A/B                                                                     Schedule A/B: Property                                                               page 3
                                      Case 23-13258-LMI                  Doc 54         Filed 12/05/23            Page 6 of 11
Debtor 1        Zenaida I Hernandez Fernandez                                                               Case number (if known)      23-13258-LMI

      Yes. List each account separately.
                              Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                       Beneficiary:                            Surrender or refund
                                                                                                                                           value:




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 4
                                      Case 23-13258-LMI                            Doc 54              Filed 12/05/23                    Page 7 of 11
Debtor 1        Zenaida I Hernandez Fernandez                                                                                   Case number (if known)        23-13258-LMI
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................             $2,347.90


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00




Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 5
                                        Case 23-13258-LMI                               Doc 54              Filed 12/05/23                     Page 8 of 11
Debtor 1         Zenaida I Hernandez Fernandez                                                                                         Case number (if known)   23-13258-LMI

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                             $1,250.00
57. Part 3: Total personal and household items, line 15                                                         $660.00
58. Part 4: Total financial assets, line 36                                                                    $2,347.90
59. Part 5: Total business-related property, line 45                                                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                        $4,257.90             Copy personal property total              $4,257.90

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $4,257.90




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 6
                                     Case 23-13258-LMI              Doc 54       Filed 12/05/23              Page 9 of 11

Fill in this information to identify your case:

Debtor 1                Zenaida I Hernandez Fernandez
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA

Case number           23-13258-LMI
(if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2013 GMC Acadia 153,441 miles                             $1,250.00                                 $1,000.00     Fla. Stat. Ann. § 222.25(1)
     Valuation based on CarMax
     Appraisal.                                                                    100% of fair market value, up to
     Paid in full                                                                  any applicable statutory limit
     VIN: 1GKKRTKD7DJ112718
     Titled jointly with daughter.
     Line from Schedule A/B: 3.1

     2013 GMC Acadia 153,441 miles                             $1,250.00                                   $250.00     Fla. Const. Art. X, § 4(a)(2)
     Valuation based on CarMax
     Appraisal.                                                                    100% of fair market value, up to
     Paid in full                                                                  any applicable statutory limit
     VIN: 1GKKRTKD7DJ112718
     Titled jointly with daughter.
     Line from Schedule A/B: 3.1

     Living with daughter.                                         $500.00                                 $500.00     Fla. Stat. Ann. § 222.25(4)

     Bedroom: Bed, 1 Dresser, 1                                                    100% of fair market value, up to
     Nightstand, 2 Lamps, and a Mirror.                                            any applicable statutory limit

     Value is debtors valuation based on
     age and condition.
     Line from Schedule A/B: 6.1



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
                              Case 23-13258-LMI                 Doc 54        Filed 12/05/23              Page 10 of 11

Debtor 1    Zenaida I Hernandez Fernandez                                                      Case number (if known)     23-13258-LMI
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    TV and Cellphone.                                          $100.00                                   $100.00        Fla. Const. Art. X, § 4(a)(2)
    Value is Debtor's valuation based on
    age and condition.                                                           100% of fair market value, up to
    Line from Schedule A/B: 7.1                                                  any applicable statutory limit

    Used clothes and shoes, value is                            $60.00                                    $60.00        Fla. Const. Art. X, § 4(a)(2)
    Debtor's valuation based on age and
    condition.                                                                   100% of fair market value, up to
    Line from Schedule A/B: 11.1                                                 any applicable statutory limit

    Cash on hand                                                $20.00                                    $20.00        Fla. Const. Art. X, § 4(a)(2)
    Line from Schedule A/B: 16.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Wells Fargo Bank                                 $124.84                                   $124.84        Fla. Const. Art. X, § 4(a)(2)
    Account Number: 4087
    Line from Schedule A/B: 17.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: TD Bank                                             $4.82                                     $4.82       Fla. Const. Art. X, § 4(a)(2)
    Account Number: 2686
    Joint with Daughter.                                                         100% of fair market value, up to
    Line from Schedule A/B: 17.2                                                 any applicable statutory limit

    Checking: TD Bank                                       $2,185.57                                    $440.34        Fla. Const. Art. X, § 4(a)(2)
    Account Number: 4814
    Joint with Daughter.                                                         100% of fair market value, up to
    Line from Schedule A/B: 17.3                                                 any applicable statutory limit

    Checking: TD Bank                                       $2,185.57                                  $1,745.23        Fla. Stat. Ann. § 222.25(4)
    Account Number: 4814
    Joint with Daughter.                                                         100% of fair market value, up to
    Line from Schedule A/B: 17.3                                                 any applicable statutory limit

    Savings: Wells Fargo                                          $0.25                                     $0.25       Fla. Stat. Ann. § 222.25(4)
    Savings Account No 3527
    Line from Schedule A/B: 17.4                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: TD Bank                                           $12.42                                    $12.42        Fla. Stat. Ann. § 222.25(4)
    Checking Account No: 2678
    Account Jointly with Daughter                                                100% of fair market value, up to
    Line from Schedule A/B: 17.5                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
                                     Case 23-13258-LMI          Doc 54     Filed 12/05/23              Page 11 of 11




Fill in this information to identify your case:

Debtor 1                    Zenaida I Hernandez Fernandez
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF FLORIDA

Case number              23-13258-LMI
(if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Zenaida I Hernandez Fernandez                                 X
             Zenaida I Hernandez Fernandez                                     Signature of Debtor 2
             Signature of Debtor 1

             Date       December 5, 2023                                       Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
